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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:05−cr−00194
                                                       Honorable Robert W. Gettleman
Saul Tejeda, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 6, 2020:


        MINUTE entry before the Honorable Robert W. Gettleman as to Saul Tejeda: The
court refers this matter to the Federal Defender Program to review the pending pro se
motion and contact the court's courtroom deputy prior to 7/27/2020 whether they wish to
represent the Defendant in this matter. The court will then set a briefing schedule on the
motion. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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